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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:                                                  Chapter 11
 THE ROMAN CATHOLIC DIOCESE OF                           Case No. 20-12345 (MG)
 ROCKVILLE CENTRE, NEW YORK,
                Debtor.


  NOTICE OF HEARING ON THE REQUEST OF THE OFFICIAL COMMITTEE OF
   UNSECURED CREDITORS FOR A STATUS CONFERENCE REGARDING THE
       DISCLOSURE BY INTERSTATE FIRE & CASUALTY COMPANY,
                NATIONAL SURETY CORPORATION, AND
          FIREMAN’S FUND INSURANCE COMPANY OF SURVIVOR
   PERSONAL INFORMATION FROM PROOFS OF CLAIM TO THIRD PARTIES

        PLEASE TAKE NOTICE that the hearing on the Request of the Official Committee of

Unsecured Creditors for a Status Conference Regarding the Disclosure by Interstate Fire &

Casualty Company, National Surety Corporation, and Fireman’s Fund Insurance Company of

Survivor Personal Information from Proofs of Claim to Third Parties filed on October 6, 2023

(the “Request for Status Conference”) will be held on October 23, 2023 at 2:00 p.m.

(Prevailing Eastern Time) (the “Hearing”).

        PLEASE TAKE FURTHER NOTICE any responses to the Request for Status

Conference must be in writing, conform to the Federal Rules of Bankruptcy Procedure and the

Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

Southern District of New York, be filed by October 16, 2023 at 4:00 p.m. (Prevailing Eastern

Time), and shall be served on (a) counsel to the Committee, Pachulski Stang Ziehl & Jones LLP,

780 Third Avenue, 36th Floor, New York, New York Attn: James I. Stang, Esq., Karen B. Dine,

Esq., and Brittany M. Michael, Esq; (b) counsel to the Debtor, Jones Day, 250 Vesey Street,

New York, New York 10281-1048 Attn: Corinne Ball, Esq. Todd Geremia, Esq, Benjamin

Rosenblum, Esq., Andrew Butler, Esq.; and (c) William K. Harrington, U.S. Department of


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Justice, Office of the U.S. Trustee, 201 Varick Street, Room 1006, New York, NY 10014, Attn:

Greg M. Zipes and Shara Cornell, Esq.

        PLEASE TAKE FURTHER NOTICE that the Hearing will be a hybrid Zoom/live

conference, with some participants appearing by Zoom for Government and others appearing in

the U.S. Bankruptcy Court for the Southern District of New York, located at One Bowling

Green, New York, NY, in Courtroom 523. Parties wishing to appear at the Hearing via Zoom

for Government, whether making a “live” or “listen only” appearance before the Court, must

make an electronic appearance through the Court’s website at https://ecf.nysb.uscourts.gov/cgi-

bin/nysbAppearances.pl on or before October 22, 2023, at 4:00 p.m. (Eastern Time). After the

deadline for parties to make electronic appearances has passed, parties who have made their

electronic appearance through the Court’s website will receive an invitation from the Court with

a Zoom link that will allow them to attend the Hearing. Requests to receive a Zoom link should

not be emailed to the Court, and the Court will not respond to late requests that are submitted on

the day of the Hearing. Further information on the use of Zoom for Government can be found at

the Court’s website at https://www.nysb.uscourts.gov/zoom-video-hearing-guide.

        PLEASE TAKE FURTHER NOTICE that the Hearing may be continued or adjourned

thereafter from time to time without further notice other than an announcement of the adjourned

date or dates at the Hearing or a later hearing.

        PLEASE TAKE FURTHER NOTICE that any responding parties are required to

telephonically attend the Hearing, and failure to appear may result in relief being granted upon

default.




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 Dated:     October 6, 2023          PACHULSKI STANG ZIEHL & JONES LLP


                                     /s/ James Stang
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                                     Counsel for the Official Committee of Unsecured Creditors




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